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    B210A (Form 210A) (12/09)

                            IN THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF NEW YORK


    In re Lehman Brothers Holdings Inc.                                    Case No. 08-13555


                  PARTIAL TRANSFER OF CLAIM OTHER THAN FOR SECURITY


     A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
     Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of
     the partial transfer, other than for security, of an undivided interest in the claim referenced in
     this evidence and notice.


             Citigroup Financial Products Inc.                 HLF LP
             Name of Transferee                                Name of Transferor

    Name and Address where notices to transferee Court Claim # (if known): 22234
    should be sent:                              Amount of Claim Transferred: $227,219.99
                                                 ISIN/CUSIP:
    Citigroup Financial Products Inc.            Blocking Number:
    390 Greenwich Street, 4th floor
    New York, New York 10013
    Attn: Kenneth Keeley
    Phone: 212-723-6501
    Email: Kenneth.keeley@citi.com
    With a copy to:

    Paul, Weiss, Rifkind, Wharton & Garrison LLP
    1285 Avenue of the Americas
    New York, New York 10019
    Attn: Elanit A. Snow
    Phone: 212-373-3000
    Email: esnow@paulweiss.com

    Name and address where transferee payments
    should be sent (if different from above):

    I declare under penalty of perjury that the information provided in this notice is true and correct
    to the best of my knowledge and belief.

                                                              8/2/2018
    By:                                            Date:
              Transferee/Transferee’s Agent
  Joelle Gavlick - Authorized Signatory


    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years
    or both. 18 U.S.C. §§ 152 & 3571
    Doc#: US1:11839698v12
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                           EVIDENCE OF TRANSFER OF CLAIM

 TO: Clerk, United States Bankruptcy Court, Southern District of New York

         HLF LP, a limited partnership, with offices at c/o Halcyon Offshore Asset Management
 LLC 477 Madison Avenue, 8th Floor, New York, NY 10022 ATTN: Matt Seltzer (“Seller”), for
 good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged
 and pursuant to the terms of an Assignment of Claim agreement dated as of the date hereof, does
 hereby certify that it has unconditionally and irrevocably sold, transferred and assigned to
 Citigroup Financial Products Inc., (the “Buyer”), all right, title and interest in and to the
 claims of Seller against LEHMAN BROTHERS SPECIAL FINANCING INC. (and its affiliates)
 in the amount of $227,219.99, docketed as Claim No. 22234 (the “Claim”) in the United States
 Bankruptcy Court, Southern District of New York, Case No. 08-13888 (JMP) (jointly
 administered under Case No. 08-13555).


         Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the
 Federal Rules of Bankruptcy Procedure, and stipulates that an order may be entered recognizing
 this transfer and sale of the Claim as an unconditional assignment and sale and Buyer herein as
 the valid owner of the Claim. You are hereby requested to make all future payments and
 distributions, and to give all notices and other communications, in respect to the Claim to Buyer.

          IN WITNESS WHEREOF, dated as of the 2nd day of August, 2018.


 HLF LP


 By: Halcyon Capital Management LP,
 Its Investment Manager


 By:
 Name:
 Title:


 By:
 Name:
 Title:


 CITIGROUP FINANCIAL PRODUCTS INC.


 By:
 Name:
 Title:
           Joelle Gavlick - Authorized Signatory
